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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 1:05cr36-SPM

ALEX CHRISTOPHER LYONS,

           Defendant.
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                     ORDER CONTINUING SENTENCING

      For good cause shown, Defendant Alex Christopher Lyons’ unopposed

Motion to Continue Sentencing (doc. 124) is granted. Sentencing is reset for

1:30 p.m. on August 14, 2006.

      SO ORDERED this 26th day of May, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
